40 F.3d 1247w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.TWO UNITS, MORE OR LESS, OF AN ARTICLE OR DEVICE, CONSISTINGOF A POWER UNIT AND A CHAIR, etc., Defendant,andKyttaron Energy Corporation, Claimant-Appellant.
    No. 93-16083.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 14, 1994.*Decided Nov. 23, 1994.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    